Case 3:19-cr-20833-RHC-EAS ECF No. 28, PageID.88 Filed 07/07/21 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                           Case No. 3:19-cr-20833

v.                                                 Hon. Robert H. Cleland

D-1. ELIZABETH PROPHITT, CRNA,

             Defendant.


                    MOTION TO WITHDRAW AS COUNSEL

      NOW COME the law firm of CHAPMAN LAW GROUP and RONALD W.

CHAPMAN II, the current counsel of record for Defendant, ELIZABETH

PROPHITT, CRNA, and hereby respectfully seek to withdraw as Defendant’s

retained counsel.

      On July 6, 2021, Defendant terminated the undersigned counsel via email. As

such, there has been a breakdown in the attorney-client relationship, such that

continued legal representation is not possible. Notably, Defendant has additional

counsel, David A. Schand, who has been involved in this matter from the beginning.

Therefore, the case should be able to proceed as scheduled in the undersigned

counsel’s absence without delay.
Case 3:19-cr-20833-RHC-EAS ECF No. 28, PageID.89 Filed 07/07/21 Page 2 of 3




      In addition, a Final Pretrial/Plea Hearing has been scheduled to occur on July

16, 2021, at 10:00 a.m. in this matter. The undersigned counsel further requests that

a hearing on the instant motion occur on that date and time, should this Honorable

Court require the same.

      Finally, the undersigned contacted AUSA Brandy McMillion on July 6, 2021,

to notify her office of the instant motion. In response, the Government

communicated that it takes no position on the motion.

      WHEREFORE, the undersigned respectfully requests that this Honorable

Court grant the instant motion and allow the undersigned to withdraw as counsel for

Defendant.

                                       Respectfully Submitted,
                                       CHAPMAN LAW GROUP

      Dated: July 7, 2021              /s/ Ronald W. Chapman II
                                       Ronald W. Chapman II, L.L.M. (P73179)
                                       Co-Counsel for Elizabeth Prophitt
                                       1441 W. Long Lake Rd., Ste. 310
                                       Troy, MI 48098
                                       T: (248) 644-6326
                                       F: (248) 644-6324
                                       rwchapman@chapmanlawgroup.com




                                         2
Case 3:19-cr-20833-RHC-EAS ECF No. 28, PageID.90 Filed 07/07/21 Page 3 of 3




                           PROOF OF SERVICE

          I hereby certify that on July 7, 2021, I presented the
          foregoing paper to the Clerk of the Court for filing and
          uploading to the ECF system, which will send notification of
          such filing to the attorneys of record listed herein and I
          hereby certify that I have mailed by US Postal Service the
          document to any involved non-participants.

                                    /s/ Ronald W. Chapman II
                                    Ronald W. Chapman II, L.L.M. (P73179)
                                    Co-Counsel for Elizabeth Prophitt
                                    rwchapman@chapmanlawgroup.com
